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Chief Magistrate Judge J ames P. Donohue

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

AT sEATTLE
UNITED sTATEs oF AMERICA, No. M J ' 7 30 4
Plamuff’ oRDER AUTHORIZING
DETENTION PENDING
V INIT!AL APPEARANCE
LoUIs oNG,
Defendant.

 

 

TO: The United States Marshal and any Authorized United States Officer:

Based upon a review of a sworn complaint, the Court finds there is probable cause
to believe that the defendant, LOUIS ONG, has violated Title 18, United States Code,
Sections l956(a)(3)(B) and l960(b)(l)(A).

It is therefore ORDERED:

l. You are directed to bring the defendant before the nearest United States
Magistrate Judge, or other authorized judicial officer, for initial appearance
as promptly as that hearing can be scheduled With the court.

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48-HOUR ORDER/ONG - 1 UNITED sTATEs ATTORNEY
700 STEWART STREET, SUITF. 5220

SEATTLE, WASHINGTON 98101
(206) 553-7970

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2. Defendant shall be held in custody pending that appearance

MES P. DONOHUE
hief U.S. Magistrate Judge

Presented by.'

/S/Josth C. Silvio
JOSEPH C. SILVIO

Special Assistant United States Attorney

48-HOUR ORDER/ONG - 2

Date, Time, and Location

] bd viz Julv 21, 2017. 10:56 n.m., Seattle, Washin,qton.

UNITED STATES ATTORNEY
700 STEWART STREET, SUITE 5220
SEATTLE, WAsHlNGToN 98101
(206) 553-7970

